    By 7:00 pm today, September 28, 2022,
    Defendants shall file a response to Plaintiffs'
    letter-motion at ECF No. 475.
                                                                     DIRECT DIAL 212.763.0886
    SO ORDERED           9/28/2022
                                                                     DIRECT EMAIL jquinn@kaplanhecker.com




                                                                                  September 28, 2022

VIA EMAIL
The Honorable Sarah L. Cave
United States District Court for the Southern District of New York
500 Pearl St.
New York, NY 10007

                  Re:      McKoy, et al. v. The Trump Corporation, et al., 18-cv-9936 (LGS)

         Dear Judge Cave:

        We write pursuant to Rule I.C. of your Honor’s Individual Rules on behalf of Plaintiffs in
connection with a time-sensitive change to our travel and deposition plans due to the developing
situation around Hurricane Ian’s landfall in Florida. In short, we are currently scheduled to travel
to Florida early tomorrow morning to take the deposition of Defendant Donald J. Trump at Mar-
a-Lago this Friday. We do not believe that is prudent or safe, and we have been unable to obtain
Defendants’ agreement to reschedule (or relocate) the deposition. Among other things, and as
more fully set forth below, the Governor has declared a state of emergency and warned of power
outages statewide, the county of Palm Beach has issued a tornado warning and closed schools
tomorrow, the local federal court in Palm Beach has similarly closed both tomorrow and Friday,
the Sherriff in Palm Beach has asked the public to stay off the roads, our airline and travel agents
indicated that we should expect flight cancellations and heavy delays, and our court reporting
service has informed us that they cannot guarantee attendance and would prefer to reschedule.
Accordingly, we write to respectfully request an order directing Defendants to reschedule the
deposition.

        As the Court knows, already the parties have agreed—and the Court has permitted the
parties—to take two depositions beyond the close of fact discovery this Friday, September 30. See
ECF 469. Should we be granted similar allowance with respect to Mr. Trump’s deposition, we will
make every effort to accommodate Mr. Trump’s schedule and to proceed on a date and at a location
of his choosing. 1


1
 For the avoidance of any doubt, we are fully prepared to proceed with the deposition and have participated in the
appropriate security clearance process with the U.S. Secret Service. This request is based solely on the undue risks
presented by travel to Florida in the midst of Hurricane Ian.
